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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DNISION

ELIZAMA C. LANDEROS,                        §
INDNIDUALLY, AND AS                         §
REPRESENTATNEOFTHE                          §
ESTATE OF RUBEN DELGADO                     §
LANDEROS, DECEASED                          §      CIVIL ACTION NO. 7:17-CV-00475
     Plaintiff,                             §
                                            §
v.                                          §
                                            §
TRANSAMERICA LIFE INSURANCE                 §
COMPANY et al                               §
    Defendants.                             §



           PLAINTIFF' S RESPONSE TO DEFENDANT TRANSAMERICA LIFE
        INSURANCE COMPANY' S MOTION FOR FINAL SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:



       COMES NOW Elizama C. Landeros, Individually and as Representative of the Estate of

Ruben Delgado Landeros, Deceased, Plaintiff, and submits her Response to the Motion for Final

Summary Judgment filed by Transamerica Life Insurance Company, hereafter referred to as

Defendant; and in support thereof would respectfully show unto the Court as follows:
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                                                 I.
                                            Introduction

        This is a dispute over the refusal of Transamerica Life Insurance Company, Defendant

 herein, to pay life insurance proceeds due under a policy it issued to Ruben Delgado Landeros,

 Deceased. Broadly, the Defendant asserts it has no obligation to pay because of alleged

 misrepresentations made on the policy application, and further that it has no obligation to prove

 the Deceased had any intent to deceive it with respect to the information provided on the

 application. It now seeks summary judgment on the claims brought against it.

                                              II.
                                   Summary Judgment Standard

        To prevail on its request for summary judgment, the Defendant must prove there are no

 genuine issues of material fact and that it is therefore entitled to judgment as a matter of law.

 Fed. R. Civ. Pro. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548 (1986);

 Baton Rouge Oil & Chern. Workers Union v. ExxonMobil Corp., 289 F.3d 373, 375 (5th Cir.

 2002) Here, the Defendant moves for summary judgment based on its affmnative defense that

 alleged material misrepresentations made on the policy application entitled it to the right to

 rescind the policy. For a defendant to prevail when it moves for summary judgment on an

· affirmative defense, it must show the absence of a genuine dispute of any material fact and

 establish each element of its affirmative defense as a matter of law. See Crescent Towing &

 Salvage Co. v. MIV ANAX, 40 F.3d 741, 744 (5th Cir.). A genuine fact issue is one that can be

 determined only by a trier of fact, because it may be resolved in favor of either party. Anderson

 v. Liberty Lobby, Inc. , 477 U.S. 242, 248-49, 106 S.Ct. 2505 (1986).



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                                              III.
                                      Evidence Attached

        In support of the factual statements made in this Response, Landeros relies on the

arguments made and authorities cited herein, the evidence attached to the Defendant' s Motion

cited herein, and on the following evidence attached hereto and incorporated herein by reference

as if set forth at length:

        Exhibit A            Excerpts from the deposition of Landeros;

                Exhibit A1   Letter from Defendant dated October 25, 2016 to Landeros;
                Exhibit A2   Landeros handwritten statement to Defendant;

        Exhibit B            Excerpts from the deposition of Estevan Lopez;

                Exhibit B1   Letter from Defendant dated October 25, 2016 to Lopez; and
                Exhibit B2   Lopez answers to questionnaire from Defendant

                                              IV.
                                       Statement of Facts

        This case arises out of the Defendant's refusal to pay the proceeds due under a life

insurance policy issued to Ruben Delgado Landeros, Deceased. The Deceased was a preacher

and pastor who wanted an insurance policy to cover the cost of his mortgage for his wife in case

he died. Exhibit A, 15:20-16:2; 147:8-14; Exhibit B, 60:1-4, 7-10. He was contacted by Estevan

Lopez, an independent insurance agent. Exhibit B, 24:23-25:3.

        Lopez does not remember many specifics about his meeting with the Decedent and

Landeros, but was able to testify about his routine when meeting with people wishing to

purchase such insurance. Exhibit B, 58:22-59:1. According to Lopez, he would first chat

generally with a potential insured about their health, because if they were in bad health there

would be little point in applying for life insurance. Exhibit B, 59:6-11, 62:20-63:8, 76: 13-24,

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128:5-12. This conversation was not written down, and what was said during the conversation

was not given to the insurance company. Exhibit B, 128:21-130:4, 131:18-132:6, 133:4-17.

       After this general discussion, Lopez testified that he translated from English to   Sp~ish


the application for insurance to the Decedent, and recorded the answers and information the

Decedent provided in response. Exhibit B, 64:16-65 :20 and 112:2. He also claims to have read a

series of specific health related questions to Landeros, again recording his answers. Exhibit B,

86:3-18. However, Lopez does not remember what the answers were, except to claim he

accurately recorded what he had been told. Exhibit B, 96:20-97:11, 117:21-118:2. He then

claims to have faxed the documents to the Defendant. Exhibit B, 70:9-17, 150:15-151:15.

       Somewhere along the way, the record of the Decedent's answers to the health questions

asked by Lopez disappeared. The document Lopez filled out has not been produced by the

Defendant, and Lopez testified that after he retired he shredded all documents he had, Exhibit B,

118:5-12, and that he does not know what became of it. Exhibit B, 137:16-139:13, 150:10-12,

165:4-11. In fact, the only record produced by the Defendant containing health information given

by the Decedent related to the policy application is a different document, filled out by a home

health care worker who visited the Decedent the day after his meeting with Lopez, and who

performed a basic health exam for the Defendant. Exhibit B, 86:19-87:1. Lopez testified he did

not know the person performing the exam, that he had never spoken with her, and that he was not

present when she took this information. Exhibit B, 88:7-89:24.

                                               v.
                                  Arguments and Authorities

A.     Rescission of an Insurance Policy for a Misrepresentation


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       . The Defendant argues that it was entitled to rescind the insurance policy it issued, and to

refuse to pay the benefits due thereunder, because it claims the evidence shows the Deceased

made material misrepresentations about his health in the policy application. Doc. 36, § IV(B).

This assertion is incorrect because the law is settled that, in order to rescind an insurance policy

for misrepresentations made in the application, the insurer must prove an intent to deceive on the

part of the insured, which the Defendant does not even attempt to do here.

        1.       The Mayes Factors Generally

       "The Erie doctrine requires federal courts, when applying state law, to apply, where

possible, the law as ' declared by its (the State's) legislature in a statute or by its highest court."'

Broussardv. Southern Pacific Transp. Co., 625 F.2d 1242, 1245 n. 3 (5th Cir. 1980) (citing Erie

Railroad Co. v. Tomkins, 304 U.S. 64, 78 (1938).

       The question presented here is whether, under Texas law, the Defendant can refuse to pay

the proceeds due under a life insurance policy because of a supposed misrepresentation on the

application, regardless of whether the insured intended to deceive the insurer when making the

representation

       It has been the law in Texas for more than 150 years that in order for a life insurance

company to be permitted to rescind a life insurance policy, during the contestable period, the life

insurance company, not the insured, has the burden of proving certain specific elements. The

elements required to be proven to support a defense for non-payment under a policy based on a

misrepresentation made on the application are: (1) a representation was made; (2) the

representation was false; (3) reliance by the insurer; (4) intent to deceive on the part of the

insured; and (5) the materiality of the representation. See Mayes v. Massachusetts Mut. Life Ins.

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Co., 608 S.W.2d 612, 616 (Tex. 1980); Banner Life Ins. Co. v. Pacheco, 154 S.W.3d 822, 827 n.

7 (Tex. App. -Houston [14th Dist.] 2005, no pet.); Protective Life Ins. Co. v. Russell, 119

S.W.3d 274, 280 (Tex. App. - Tyler 2003, pet. denied); 27 TEX. PRAC. , CONSUMER RIGHTS &

REM. § 5:7 (3rd ed. Supp. 2019). 1

       2.      Defendant Claims Maves is no Longer the Law

       In its Motion, the Defendant offers no proof that the Decedent had any intent to deceive

the Defendant with the information given in connection with the insurance application that led to

the issuance of the policy at issue. This absence of proof is intentional -   the Defendant claims

such proof is unnecessary. The Defendant's argument, that they are not required to prove intent

to deceive on the part of the insured, is based, in its entirety, on a single district court opinion,

Colonial Penn Life Ins. Co. -v. Parker, 362 F.R.D. 380 (S.D. Tex. 2019). In it, the court, in dicta,

held that when the Insurance Code was recodified in 2003, it limited the "intent to deceive"

element to policies that have been in effect for more than two years, and with respect to policies

in effect less than two years (like the policy in this case) no intent to deceive need be proven.

Parker, 362 F.R.D. at 398-403.

       3.      The Defendant is Wrong

       The decision in Parker is based on amendments to the Insurance Code passed in 2003,

and which took effect in 2005. These amendments were expressly not intended to be substantive,

or to change existing law, such as Mayes. By their terms, the amendments were specifically

contemplated to be a non-substantive revision of existing law. 78th Leg. R.S., Ch. 1274,


       1 To the extent necessary, Landeros asks the Court to take judicial notice of Texas law
cited herein, specifically including authorities discussing the Mayes factors and those discussing

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Preamble (2003). Such non-substantive recodifications do not change the law. Blount v. Dutton,

967 S.W.2d 955, 957 (Tex. App. -Beaumont 1998, no pet.); see also ·coastal Marine Svc. of

Tex., Inc. v. City of Port Neches, 11 S.W.3d 509, 512 (Tex. App.- Beaumont 2000, no pet.)

(the mandate of the Texas Legislative Council is to codify Texas statutes into codes on related

topics, without making substantive changes the Council lacks the authority to make).

                       Insurance Code Provisions Have Not Changed

       Recognizing this was the case, the court in Parker (and necessarily, the Defendant in its

Motion) claims the rule that recodification does not change the law does not apply if there has, in

fact, been a material change to the statute when it is re-enacted. Parker, 362 F.R.D. at 402. This

is because courts cannot avoid the effect of a clear change in law merely because the change was

supposed to be non-substantive. Fleming Foods ofTex., Incl. v. Rylander, 6 S.W.3d 278, 283-84

(Tex. 1999). Rather, if some "clear, specific" language changes the law, the change must be

given effect. Choice! Power, L.P. v. Feeley, 501 S.W.3d 199, 213 (Tex. App.- Houston [1st

Dist.] 2016, no pet.). While this is all well and good, it is irrelevant because no such "clear,

specific" change occurred in the 2005 recodification.

       The court in Parker based its decision on a distinction between two provisions of the

statute, one of which (Section 705.1 04) specifically mentions intent to deceive and the other of

which (Section 705.051) does not. Parker, 362 F.R.D. at 401-03. The problem with this

distinction is that it existed before the 2005 recodification: prior Article 21.18 (now Section

705.051) and Article 21.35 (now Section 705.104) were substantively identical to current law,

with Article 21.18 .making no specific mention of intent to deceive, and Article 21.35 specifically


the application of Section 705.103 of the Insurance Code, post.
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requiring a misrepresentation be "intentionally made." Compare Tex. Ins. Code Art. 21.18, with

Tex. Ins. Code § 705.05; and compare Tex. Ins. Code Art. 21.35, with Tex. Ins. Code §

705.104. 2-3 Despite this difference in the language of the statutes, the Court in Mayes imposed

an "intent to deceive" requirement on any attempt to rescind an insurance policy. The lack of any

change when the statute was recodified means that the change necessarily cannot have been a

substantive change, as the dicta in the Parker opinion states. Put plainly, the statutory law when

Mayes was decided is the same as the statutory law now, the fact the statute was recodified in the

interim notwithstanding.

       When a recodification is substantially the same as prior law, it has the same meaning as

the prior law. Walker v. Money, 120 S.W.2d 428, 431 (Tex. 1938); Cadle Co. v. Butler, 95 1

S.W.2d 901, 908 (Tex. App. - Corpus Christi 1997, no pet.); Vielma v. Eureka Co., 218 F.3d

458 , 466 (5th Cir. 2000). And when a statute is interpreted by the courts in a particular way, and

the Legislature then amends or recodifies it without "substantial change", the Legislature is

presumed to have adopted the judicial interpretation, and to intend it to continue to apply to the


       2
          Tex. Ins. Code§ 705.051 has, in substance, been in effect since at least 1909. See Tex.
Rev. Civ. Stat. art. 5045 (1925) (providing "no recovery upon any life, accident or health
insurance policy shall ever be defeated because of any misrepresentation in the application which
is of an immaterial fact and which does not affect the risks assumed")

       3
          Tex. Ins. Code§ 705.104 has, in substance, been in effect since at least 1903. See Tex.
Rev. Civ. Stat. art. 5049 (1925) (providing "that no defense based upon misrepresentation made
in the application for, or in obtaining or securing, any contract of insurance upon the life of any
person being or residing in this State shall be valid or enforceable in any suit brought upon such
contract two years or more after the date of its issuance, when premiums due on such contract for
the said term of two years have been paid to, and received by, the company issuing such contract,
without notice to the assured by the company so issuing such contract of its intention to rescind
the same on account of misrepresentation so made, unless it shall be shown on the trial that such
misrepresentation was material to the risk and intentionally made").

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"new" law. Traxler v. Entergy Gulf States, Inc. , 376 S.W.3d 742, 748 (Tex. 2012); Pettigrew v.

State, 48 S.W.3d 769, 772-73 (Tex. Crim. App. 2001); Coastal Indus. Water Auth. v. Trinity

Portland Cement Div., Gen. Portland Cement Co., 563 S.W.2d 916,918 (Tex. 1978).

       Moreover, it is illustrative that there was also a recodification of the statutes at issue

when they were recodified from the Revised Texas Civil Statutes to the Insurance Code of 1951

(changed from Art. 5045 to 21.18, and 4951 to 21.35, respectively). If the Defendant is correct

in their reasoning, why then did the Supreme Court still require the element of "intent to

deceive" when it decided Mayes?        Why did it not conclude that the legislature intended a

substantive change during the 1951 recodification? The obvious answer, of course is that in the

1950's, as in 2003, the legislatl.rre did not intend any substantive change to the insurance code

and, therefore, none was recognized by the Texas Supreme Court.

                      Courts Recognize Mayes is Still the Law

       That this understanding is correct is confirmed by the fact that many courts have, since

2005, discussed or applied the Mayes "intent to deceive" requirement in cases like this one. See,

e.g., Nguyen. v. Allstate Ins. Co., 404 S.W.3d 770 (Tex. App. -        Dallas 2013, pet. denied);

United of Omaha Life Ins. Co. v. Halsell, SA-08-CV-1007-XR, 2010 WL 376428 (W.D. Tex.

Jan. 25, 2010); Temcharoen v. United Fire Lloyds, 293 S.W.3d 332 (Tex. App. -             Eastland

2009, pet. denied); Liu v. Fidelity & Guar. Life Ins. Co., 282 Fed.Appx. 304 (5th Cir. 2008);

Hinna v. Blue Cross Blue Shield ofTex., 4:06-CV-810-A, 2007 WL 3086025 (N.D. Tex. Oct. 22,

2007); Kirk v. Kemper Investors Life Ins. Co., 448 F.Supp.2d 828 (S.D. Tex. 2006). The clearest

statement of the current state of the law is found in a case involving a malpractice insurance

policy, applying the "intent to deceive" requirement despite the fact the statute makes no specific

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mention of it:

       Section 705.004 [of the Insurance Code] 4 , in its different codifications, is now
       11 0 years old. Although the statute never expressly required the insurer to prove
       the insured intended to deceive the insurer with a misrepresentation in the policy
       application, the courts of Texas have consistently held than an insurer may not
       rescind a policy due to a misrepresentation in an insurance application unless the
       insurer proves the insured intended to deceive the insurer with the
       misrepresentation. We cannot vary from this long history of case law imposing a
       duty upon insurers. We conclude "the intent to deceive on the part of the insured
       making" a misrepresentation in an application for insurance is an element the
       insurer must prove to obtain a declaratory judgment that a policy is void due to
       the misrepresentations.

Medicus Ins. Co. v. Todd, 400 S.W.3d 670,679 (Tex. App. - Dallas 2013, no pet.).

       The premise of the Defendant's Motion, that if it can simply prove a misrepresentation

before canceling a policy, is wrong. The sole support on which this argument relies, dicta in

Parker, is also wrong. Parker cannot overrule the Texas Supreme Court on an issue of Texas

law, and has not done so. Mayes is still the law, and therefore the Defendant is not entitled to

summary judgment unless it proves the Decedent made not just a misrepresentation, but a

misrepresentation with an intent to deceive. The Defendant does not, and cannot show, as a

matter of law, that the alleged misrepresentations cited in its Motion were intentionally made by

the Deceased with an intent to deceive, as more fully explained below. Accordingly, the

Defendant's request for summary judgment should be denied.

B.     The Defendant Cannot Prove Reliance

       Defendant's Motion fails to establish it is entitled to summary judgment because the

summary judgment evidence provided by the Defendant fails to prove, as a matter of law, that


       4
        This section forbids most provisions in an insurance policy making the policy void if it
was issued because of"false statements made in the application ... ," Tex. Ins. Code§ 705.004(a),
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any alleged misrepresentation made by the insured in connection with the application was relied

on by Defendant in issuing the policy.

        1.      What the Evidence Shows

        As set forth above, the Decedent was asked questions about his health twice: once by

Estevan Lopez, the agent who sold him the policy, and a second time by a health care worker,

who visited the Decedent afterwards to perform a physical for the benefit of the Defendant.

Lopez hand-wrote the answers he was given to the health questions he asked the Decedent, while

the health care worker entered the answers on a computer. Although the Court would not know

it from reading the Defendant's Motion, every reference to an answer to a health-related question

the Decedent was asked that the Defendant cited in its Motion came from the second set of

questions; we know this because the answers to the first set of questions, taken by Lopez, are

inexplicably missing. The absence of these answers is important, for two reasons.

       2.      Content of Missing Answers are not Proven

       First, because the answers given by the Decedent to Lopez are missing, no one can say

what answers he gave to this set of health questions: the Decedent is dead; his wife, Landeros,

testified she could not recall the specifics of any of the questions Lopez asked the Decedent

about his health, Exhibit A, 39:16-19; and Lopez testified he does not remember much of what

the Decedent told him beyond that he was in good health, Exhibit B, 77: 10-14, and does not have

the paperwork that would answer the question. Exhibit B, 118:3-12, 149:6-150:14. Without

knowing what answers and information the Decedent gave to the questions asked of him by

Lopez, it is impossible to know if he gave false answers, and if so, whether such was done


and is understood to require the kind of intent to deceive to void a policy that is at issue here.
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intentionally or not.

        The Defendant seeks to gloss over this failure of proof, citing the Court to the second set

of questions answered by the Decedent, as well as claiming it relied on statements about his

health that the Decedent gave Lopez. Doc. 36,        ~   6. This cannot be true. With respect to

. statements Lopez claims the Decedent made about his health when they were chatting before

Lopez began to write down the information, the evidence shows these statements were never

made known to the Defendant, and therefore it cannot have relied on them. With respect to the

written answers Lopez did take down, the Defendant may have relied on this information (which

Lopez testified he faxed to the Defendant), but because the answers are missing there is no proof

the Decedent made any statement (true, false or in between) regarding his health in connection

with the application.

       This leaves only the answers taken down by the health care worker. As a matter of law,

the Defendant cannot have relied on these answers, either. The law is clear the health-related

questions an insurer is entitled to rely on in deciding whether to issue a policy are those

submitted with the policy application. By statute, a life insurance policy must include a copy of

the application and "any questions and answers given in connection with the application." Tex.

Ins. Code § 705.103. Here, the answers to the health-related questions taken by Lopez, which

Lopez says were submitted to the Defendant with the rest of the policy application, are missing.

The health-related questions on which the Defendant now claims to have relied on were taken at

a different time. The answers given may be the same as those given to Lopez, or maybe not - in

the absence of the answers taken by Lopez, there is no way to tell.

       3.      Defendant's Defense in this Case is Precluded by the Texas Insurance Code

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       We would direct the attention of the Court to the Texas Insurance Code which mandates

that a life insurance policy, when issued, must have attached, not only application, but also "any

questions and answers given in connection" with it. Tex. Ins. Code§ 705.103 (requiring that "a

life insurance policy must be accompanied by a copy of (1) the policy application, and (2) any

questions and answers given in connection with the application"). If the application is missing

this material, the insurer is not allowed to use an alleged misrepresentation made in answers

given in connection with the application as a basis for avoiding its obligations under a policy it

has issued. Fredonia State Bank v. General Am. Life Ins. Co., 881 S.W.2d 279, 285-88 (Tex.

1994); Safeway Managing Gen. Agency for State & County Mut. Fire Ins. Co. v. Cooper, 952

S.W.2d 861, 866 (Tex. App. - Amarillo 1997, no pet.); Riner v. Allstate Life Ins. Co., 131 F.3d

530, 537-38 (5th Cir. (Tex.) 1997); see also West Coast Life Ins. Co. v. Life Brokerage Partners,

LLC, 08-CV-80897-RYSKAMP, 2011 WL 13173545 at* 3 (S.D. Fla. Jan. 10, 2011) (applying

Texas law). Such laws are common, see, e.g., 2 COUCH ON INS.§ 18:18 (3rd ed. Supp. 2018), and

have the effect of making alleged representations inadmissible as evidence in a suit to set aside

the policy. National Lloyds Ins. Co. v. McCasland, 566 S.W.2d 565, 566 (Tex. 1978). "In such

instances [where the materials to be attached to the policy are missing] the application p er se, is

excluded from the contract." Cooper, 952 S.W.2d at 866.             These authorities (which the

Defendant does not cite) support Landeros' argument that because the Defendant is unable to

produce the answers to the questions asked of the Decedent in connection with his application

for life insurance, the Defendant is precluded from pointing to any other representations he may

have made, and is not allowed to seek to have the policy set aside on the basis of an alleged


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misrepresentation.

        4.     Defendant Fails to Meet Its Burden of Showing the "Reliance" Element

        When asked why he wrote down the Decedent's answers on the application (as opposed

to the Decedent writing them in himself), Lopez testified that it was because the "insurance

companies" (presumably including the Defendant) requested that he be the one to actually fill in

the answers to the application, and then have the proposed insured sign the document thereafter.

Exhibit B, 64:16-18. Lopez testified that he followed that procedure in this case. !d. Lopez also

testified that he then sent the written application containing the Decedent's answers to the health

questions to the Defendant via direct fax. Exhibit B, 70:9-14.

        Following Landeros making her claim for benefits under the policy, the Defendant sent a

letter to both Landeros and Lopez requesting they provide information regarding the policy

application process that was conducted by Lopez. Exhibit. AI and B 1. In their response, both

Landeros and Lopez, in separate letters, wrote to the Defendant notifying it that Lopez was the

one that asked the policy applications questions to the Deceased, and that Lopez recorded the

answers that the Deceased provided.      Exhibit A2 and B2.       When asked during deposition

whether he had spoken to the Defendant regarding Landeros' claims made in this lawsuit, Lopez

testified that after Landeros filed her lawsuit, he called the Defendant to request a copy of the

application he filled out on behalf of the Decedent and which he testified he sent to the

Defendant. Exhibit B, 149:6. According to Lopez, the Defendant refused to provide him a copy

because he "was no longer a licensed insurance agent and they -- legally they couldn't send me a

copy of that application." !d.

       In order to succeed on summary judgment, the Defendant has the burden of establishing

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that, as a matter of law, it relied on the misrepresentations it points to in its Motion when it

decided to issue the policy to the Decedent. See Mayes, 608 S.W.2d at 616 (requiring that

reliance on the part of the insurer on a misrepresentation made on a policy application is one

element required to be proven before a policy can be rescinded based on the misrepresentation).

In other words, of all the information provided to it during the application process, the Defendant

must show that there was no information contrary to the answers to the health questions it states

were misrepresented in the typed-up application provided to it by the health care worker. It

cannot show that because according to Lopez, he sent the Defendant the handwritten.application

he filled out during his meeting with the Deceased, and those answers were not attached to the

policy, as required by the Texas Insurance Code.

          The Defendant's Motion does not establish that: (1) it never received the Lopez

application; (2) it did not consider information contained on the application when considering

whether to issue the policy to the deceased; or (3) that the content contained on the Lopez

application was consistent with the information contained on the typed-up application provided

by the health care worker. For this reason, the Defendant fails to meet its burden that it relied on

any alleged misrepresentation made by the Deceased when it decided to issue him an insurance

policy.

          5.     Extra-Contractual Claims are Viable

          Finally, the Defendant argues that the extra-contractual claims brought against it under

the Insurance Code are also invalid, an argument based entirely on the supposition that its

rescission of the policy was proper. Doc. 36, ,-r,-r 28-29. The foregoing shows this supposition is

not correct, and therefore the Motion does nothing to prove the Defendant is entitled to summary

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judgment on these claims, either.

                                               VI.
                                      Conclusion and Prayer

       The Defendant's entire argument in this case is based on the narrowest of points -         the

decision in Parker. It claims Parker says it does not need to prove intent to deceive and,

therefore, proof of anything that might qualify as a misrepresentation allows it to rescind any life

insurance policy that has been in force for less than two years. The foregoing shows this is

incorrect, for a number of reasons: (1) the 2005 changes to the Texas Insurance Code were

intended by the Legislature to be non-substantive; (2) the 2005 changes to the Texas Insurance

Code were, in fact, non-substantive as compared to the predecessor statutes in force at the time

of the Mayes decision; and (3) Parker aside, all other state and federal courts who have reviewed

whether a policy was properly rescinded following the 2005 statutory changes have applied the

Mayes factors, including the element of intent to deceive. Moreover, the Defendant cannot prove

that it relied on any alleged misrepresentations made by the Deceased because it lacks the

information the statute requires to allow it to try to do so, i.e. the full application and questions

and answers given in connection with the policy application. For these reasons, the Defendant's

request for summary judgment ought to be denied.



       WHEREFORE PREMISES CONSIDERED, Plaintiff prays that prays the Defendant's

Motion for Final Summary Judgment be in all respects DENIED, for the reasons set forth herein.




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                            Respectfully submitted,

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                            INDIVIDUALLY AND IN HER REPRESENTATIVE
                            CAPACITIES




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                                 CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing Plaintiff's Response to
Defendant Trans america Life Insurance Company's Motion for Final Summary Judgment was
on the 31st day of May 2019, has been served in accordance with the Fed. R. Civ. P. to the
persons indicated below:

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                                                         ~- JOHN B. GRISSOM

#1762409/5795 042/RAA/JBG/tst




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

ELIZAMA C. LANDEROS,                       §
INDIVIDUALLY, AND AS                       §
REPRESENTATIVE OF THE                      §
ESTATEOFRUBENDELGADO                       §
LANDEROS, DECEASED                         §       CIVIL ACTION NO. 7:17-CV-00475
     Plaintiff,                            §
                                           §
~                                          §
                                           §
TRANSAMERICA LIFE INSURANCE                §
COMPANY et al                              §
    Defendants.                            §

         ORDER DENYING TRANSAMERICA'S MOTION FOR SUMMARY JUDGMENT

        On this day, the Court considered Defendant Transamerica Life Insurance Company's

("Defendant") Motion for Final Summary Judgment (the "Motion"). After reviewing the Motion, the

response and the reply, if any, and considering the evidence and legal arguments presented, this Court

fmds that Defendant's Motion should be DENIED.


     IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Motion is hereby
DENIED.


SIGNEDthis _ __          dayof _ _ __ __ 2019.




                                          RANDY CRANE
                                          UNITED STATES DISTRICT JUDGE




# 1760447/5795 042/JBG/RAA/tst



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